67 F.3d 309
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Luis PALACIOS AMAYA, Defendant-Appellant.
    No. 95-30064.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 18, 1995.*Decided Sept. 29, 1995.
    
      Before:  BROWNING, GOODWIN, and O'SCANNLAIN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Luis Felipe Palacios-Amaya appeals the district court's denial of his motion to dismiss a criminal indictment on double jeopardy grounds.  We have jurisdiction pursuant to 28 U.S.C. Sec. 1291, and we affirm.
    
    
      3
      Palacios-Amaya contends that the criminal charges should be dismissed because he has already been subjected to punishment for the same offenses through the government's uncontested administrative forfeiture proceedings.  This contention is foreclosed by United States v. Cretacci, No. 94-10235, slip op. 9565, 9571 (9th Cir.  Aug. 4, 1995), in which we held that an administrative forfeiture of unclaimed property does not constitute punishment for purposes of the Double Jeopardy Clause.
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    